Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18     PageID.1   Page 1 of 19



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MICHAEL WELCH,

      Plaintiff,
vs.                                               Case No: 18-cv
                                                  Hon.
CITY OF MELVINDALE, a political                   Mag.
Subdivision of the State; MELVINDALE
PUBLIC SAFETY COMMISSION, a political
advisory body of the City of Melvindale;
JEFFERY BOLTON, KEVIN MCISAAC,
MARTHA MCDANIEL, PATRICIA HALL,
JOSEPH ALVARADO, and LAWRENCE
COOGAN, individuals, sued in their official and
personal capacities,

      Defendants.
__________________________________________________________________
DEBORAH GORDON LAW
Deborah L. Gordon (P27058)
Elizabeth Marzotto Taylor (P82061)
Attorneys for Plaintiff
33 Bloomfield Hills Parkway, Suite 220
Bloomfield Hills, Michigan 48304
(248) 258-2500/Fax (248) 258-7881
dgordon@deborahgordonlaw.com
emarzottotaylor@deborahgordonlaw.com

______________________________________________________________

              COMPLAINT AND DEMAND FOR JURY TRIAL


              There is a companion case that has previously been
                filed in the United States District Court, Eastern
            District of Michigan, where is was given docket number
                17-cv-13294 and is assigned to Linda V. Parker.
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18          PageID.2   Page 2 of 19




      Plaintiff Michael Welch, by his attorneys Deborah Gordon Law, complains

against Defendants City of Melvindale, Melvindale Public Safety Commission,

Jeffrey Bolton, Kevin McIsaac, Martha McDaniel, Patricia Hall, Joseph Alvarado,

and Lawrence Coogan as follows:

                              Jurisdiction and Parties

      1.     This is an action by Plaintiff Michael Welch against Defendants City

of Melvindale, Melvindale Public Safety Commission, Jeffrey Bolton, Kevin

McIsaac, Martha McDaniel, Patricia Hall, Joseph Alvarado, and Lawrence Coogan

for retaliating against Plaintiff for exercising his Constitutional rights, and

conspiring to intimidate and retaliate against Plaintiff because of his testimony in a

federal civil lawsuit in violation of federal law.

      2.     This Court has federal subject matter jurisdiction pursuant to 42

U.S.C. § 1983, 42 U.S.C. § 1985(3), 28 U.S.C. § 1343, 28 U.S.C. § 1331.

      3.     Plaintiff Michael Welch (“Plaintiff”) is a resident of Michigan and

resides in the Eastern District of Michigan.

      4.     Defendant City of Melvindale (“City”) is a political subdivision of the

State of Michigan.

      5.     Defendant Melvindale Public Safety Commission (“Public Safety

Commission”) is a political advisory body of the City of Melvindale.



                                           2
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18         PageID.3   Page 3 of 19



      6.     Defendant Jeffrey Bolton (“Defendant Bolton”) is an individual who

at all pertinent times served on the Melvindale Public Safety Commission and,

upon information and belief, is a resident of Michigan and resides in the Eastern

District of Michigan.

      7.     Defendant Kevin McIsaac (“Defendant McIsaac”) is an individual

who at all pertinent times served on the Melvindale Public Safety Commission and,

upon information and belief, is a resident of Michigan and resides in the Eastern

District of Michigan.

      8.     Defendant Martha McDaniel (“Defendant McDaniel”) is an individual

who at all pertinent times served on the Melvindale Public Safety Commission and,

upon information and belief, is a resident of Michigan and resides in the Eastern

District of Michigan.

      9.     Defendant Patricia Hall (“Defendant Hall”) is an individual who at all

pertinent times served on the Melvindale Public Safety Commission and, upon

information and belief, is a resident of Michigan and resides in the Eastern District

of Michigan.

      10.    Defendant Joseph Alvarado (“Defendant Alvarado”) is an individual

who at all pertinent times served on the Melvindale Public Safety Commission and,

upon information and belief, is a resident of Michigan and resides in the Eastern

District of Michigan.


                                         3
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18         PageID.4    Page 4 of 19



      11.    Defendant Lawrence Coogan (“Defendant Coogan”) is an individual

who at all pertinent times served as Corporation Counsel for the City of

Melvindale and, upon information and belief, is a resident of Michigan and resides

in the Eastern District of Michigan.

      12.    Defendants City, Public Safety Commission, Bolton, McIsaac,

McDaniel, Hall, Alvarado, and Coogan will collectively be referred to herein as

“Defendants” unless more specifically referenced.

      13.    The events giving rise to this matter occurred in the Eastern District of

Michigan, and as a result venue lies in the Eastern District of Michigan pursuant to

28 U.S.C. § 1391.

                                    Background Facts

      14.    Plaintiff has worked within the Melvindale Police Department for

twenty-two years.

      15.    Plaintiff began his employment with Defendants on or about June

1998 as a patrolman, and over the years rose through the ranks until he achieved

the rank of Lieutenant in 2014.

      16.    Plaintiff’s performance has at all times been satisfactory or better. He

was highly trained and experienced, and received commendations from both his

superiors and members of the public for his service on the police force.




                                          4
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18        PageID.5    Page 5 of 19



      17.    As a Lieutenant with the Melvindale Police Department Plaintiff had

first-hand knowledge of the circumstances leading up to and surrounding the

termination of Chad Hayse, former Melvindale Police Chief in August 2016.

      18.    These circumstances are detailed in Hayse v. City of Melvindale, et.

al., Case No. 17-cv-13294, which alleges violations of 42 U.S.C. § 1983. Plaintiff

Hayse alleges that his due process and free speech rights were violated when he

was terminated at the conclusion of a sham, preordained termination proceeding.

The real reason for Hayse’s termination was that Defendants City of Melvindale,

et. al. were determined to stop then-Police Chief Hayse from disciplining Matthew

Furman for police misconduct. Furman was generating significant revenue for the

City and the company Goch & Sons Towing, Inc. by his unrelenting use of work

time to do nothing other than impound vehicles.

      19.    Plaintiff was called to testify at the termination proceeding that took

place with regard to Chad’s employment on August 29, 2016.

      20.    On August 29, 2016, Plaintiff gave a truthful account of what he

observed with regard to Hayse’s behavior and performance as the Chief of Police,

including that Hayse had never disparaged the Mayor, other City officials, or City

contractors in front of his subordinates.

      21.    In September 2016, Defendant Coogan served Plaintiff with

paperwork stating that Defendant Public Safety Commission sought his


                                            5
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18         PageID.6   Page 6 of 19



suspension, demotion, and/or termination, in large part because of the information

he provided during Hayse’s termination proceeding.

      22.    Defendants’ complaint for Plaintiff’s suspension, demotion, and/or

termination alleged that Plaintiff made unprofessional comments in the presence of

his subordinates, lied to the Mayor and City Council during Hayse’s August 29,

2016 termination proceeding, and violated the Melvindale Police Department

Rules and Regulations and Operating Policy.

      23.    Plaintiff never lied, and Defendants had no evidence that he had done

so.

      24.    Defendants’ goal was to retaliate against Plaintiff for testifying

favorably to then-Police Chief Hayse, who Defendants had already decided to fire.

      25.    Significantly, Defendants’ complaint against Plaintiff did not state

what lie Plaintiff had allegedly lied to the Mayor and City Council.

      26.    Prior to his trial board hearing, Plaintiff was never allowed to review

any recording or transcript of his statements during the August 29, 2016

termination proceeding.

      27.    Under the policies and regulations governing Plaintiff’s retirement

benefits, if Defendants terminated him in September 2016, he would have to wait

until age 59 and ½ to draw his pension.




                                          6
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18        PageID.7   Page 7 of 19



      28.    In September 2016, Plaintiff planned on retiring from my position at

age 50.

      29.    Plaintiff believed Defendants intended to terminate him, so he

prepared a statement to read aloud to them, in order to persuade them to suspend

him, rather than terminate his employment.

      30.    In Plaintiff’s statement, he reiterated what he had stated at various

points during the August 29, 2016 termination proceeding—that Plaintiff had never

heard Hayse disparage the Mayor, other City officials, or the City’s towing

contractor in front of our subordinates.

      31.    After hearing Plaintiff’s statement, and extracting a promise from him

that in the future he would continue to testify truthfully about the circumstances

leading up to Hayse’s termination, Defendants agreed to suspend him for 30 days,

rather than terminating him.

      32.    In order to avoid termination, Plaintiff was also made to promise not

to grieve the 30 day suspension through his Union.

      33.    Plaintiff received no written documentation whatsoever stating that he

was to serve a 30 day suspension. Upon information and belief, no such

documentation exists.

      34.    Plaintiff served the 30 day suspension from on or about September 13

through October 12, 2016.


                                           7
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18         PageID.8    Page 8 of 19



      35.    In or about December 2017, Plaintiff provided notice that he intended

to retire on August 30, 2018.

      36.    Plaintiff was thereafter placed in an inactive duty status, and was

allowed to use his accrued sick and annual leave to remain out of work until his

August 30, 2018 retirement date.

      37.    Upon information and belief, Defendants backfilled his position.

      38.    Plaintiff was subpoenaed, and on March 28, 2018, Plaintiff was

deposed as a fact witness in Chad Hayse’s federal lawsuit against the City and City

Council members.

      39.    Plaintiff testified truthfully and honestly at all times during his

deposition. Additionally, Plaintiff’s deposition testimony was consistent with the

statements Plaintiff made during Hayse’s August 29, 2016 termination proceeding,

and Plaintiff’s own September 2016 trial board hearing before Defendants.

      40.    It is uncontested that Plaintiff’s deposition testimony was harmful to

the defendants in Hayse’s federal lawsuit.

      41.    It is uncontested that the statements and actions of all Defendants

named in this case are also at issue in Chad Hayse’s federal lawsuit.

      42.    Defendants have personal and organizational interests in preventing

the exposure of inculpatory information being revealed regarding their statements

and actions in the Hayse federal lawsuit.


                                            8
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18          PageID.9   Page 9 of 19



      43.    Plaintiff testified that Hayse was terminated, in part, because he tried

to reign in the actions of a rogue police officer, Matthew Furman, who was the

main source of the City’s towing-related income.

      44.    On April 11, 2018, a Melvindale Police officer notified Plaintiff that

on April 9, 2018, Defendant Coogan asked to meet with him and another officer.

      45.    The officer explained that while in Defendant Coogan’s office,

Defendant Coogan said that Plaintiff was a liar, and that he had perjured himself

during his recent deposition. Defendant Coogan offered to let the two officers read

the transcript of Plaintiff’s deposition.

      46.    Defendant Coogan called Chester Kulesza, the Police Officer’s Labor

Council Field Representative for the Melvindale Police Supervisors’ Association

with the two officers in the room, on speakerphone.

      47.    Defendant Coogan told Kulesza that Defendant Public Safety

Commission wanted to discipline Plaintiff for testifying against the City.

      48.    Based on this conversation the officers feared Defendants would

attempt to punish them similarly if they spoke out or testified unfavorably against

the City.

      49.    In addition to Plaintiff, both officers were subpoenaed as witnesses in

Hayse’s federal lawsuit against the City of Melvindale, et. al.




                                            9
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18         PageID.10    Page 10 of 19



      50.    Hayse intends on calling Plaintiff as a witness at trial in his federal

lawsuit against the City of Melvindale, et. al.

      51.    Prior to the April 10, 2018 meeting of Defendant Public Safety

Commission, Defendant Coogan provided all named Defendants with copies of

Plaintiff’s March 28, 2018 deposition transcript.

      52.    Upon information and belief, Defendant Coogan also provided the

entire Melvindale City Council with copies of Plaintiff’s March 28, 2018

deposition transcript.

      53.    During Defendant Public Safety Commission’s April 10, 2018

meeting, Defendant Coogan falsely stated that Plaintiff had lied during his March

28, 2018 deposition.

      54.    Defendant Coogan also told Melvindale Police Lieutenant Robert

Kennaley that Plaintiff lied while under oath at his deposition.

      55.    Upon information and belief, Defendant Coogan advised Defendant

Public Safety Commission and/or individual members of the Commission to

suspend, demote, and/or terminate Plaintiff.

      56.    Defendants determined that they would take disciplinary action

against Plaintiff by drafting a complaint against him, and setting the date for a trial

board hearing on this complaint at their next meeting.




                                          10
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18         PageID.11   Page 11 of 19



       57.   Defendants have retaliated against, intimidated, and attempted to

intimidate Plaintiff for speaking out against the wrongdoing he observed being

committed by the City of Melvindale, its employees, appointees, and elected

officials.

       58.   Defendants are intimidating and attempting to intimidate other

witnesses in this and the Hayse v. City of Melvindale et. al. case.

       59.   Defendants have conspired to and attempted to silence Plaintiff from

testifying further in Hayse’s federal lawsuit.

                                     COUNT I
                     42 USC § 1983 – First Amendment Retaliation

       60.    Plaintiff repeats and realleges all paragraphs set forth above with the

same force and effect as though set forth in full herein.

       61.   The First Amendment to the United States Constitution provides that,

“Congress shall make no law abridging the freedom of speech.”

       62.   Plaintiff engaged in Constitutionally protected speech when he

testified about actions taken by the City of Melvindale, its employees, appointees,

and elected officials at the August 29, 2016 termination proceeding for Chad

Hayse and his March 28, 2018 deposition; and spoke in his own defense to

Defendant Public Safety Commission at his September 2017 trial board hearing.

       63.   This speech was on a matter of public concern, as its content included

such topics as whether the City of Melvindale had illegally or improperly
                                          11
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18         PageID.12      Page 12 of 19



impounded vehicles, was policing for revenue, and whether Defendants played a

role in terminating former Police Chief Hayse because he refused to ignore the

improper, unlawful, and abusive tendencies of a Melvindale police officer because

that officer generated hundreds of thousands of dollars for the City.

      64.    Plaintiff’s speech was not pursuant to his official duties.

      65.    Plaintiff’s interest as a citizen in speaking on this matter and bringing

Defendants’ wrongdoings to light outweighed Defendants’ interest as an employer

in promoting the efficiency of the public services they performed through their

employees.

      66.    Plaintiff’s interest as a citizen in speaking on this matter was

significant, as it concerned matters of law, ethics, and public safety that he was

well informed of and entitled to make. The comment had no impact on the

efficiency of the Melvindale Police Department whatsoever, and therefore

Defendants had no interest in curtailing this speech to promote the efficiency of the

public services they performed through their employees.

      67.    Plaintiff was thereafter publically threatened with suspension,

demotion and/or termination of his employment with the City, any of which would

result in the loss of a significant portion of his retirement benefits as well as his

future employment opportunities, reputation, honor, and good standing in the




                                          12
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18        PageID.13    Page 13 of 19



community. This action is sufficiently adverse so as to deter a person of reasonable

firmness from exercising their right to free speech.

      68.    Defendants’ decision to publically take steps to suspend, demote,

and/or terminate Plaintiff was motivated, at least in part, by Plaintiff’s exercise of

his First Amendment right to free speech.

      69.    Defendants retaliated against Plaintiff for exercising his First

Amendment right to free speech.

      70.    Defendants acted with deliberate indifference to Plaintiff’s presumed

and actual innocence.

      71.    Defendants agreed to, approved, and ratified this unconstitutional

conduct.

      72.    It would have been plainly obvious to a reasonable official that such

actions or inaction would deprive or lead to the deprivation of Plaintiff’s

constitutional rights.

      73.    Defendants’ actions and inaction, as set forth above, were

fundamentally unfair to Plaintiff.

      74.    There exists no rational relationship between Plaintiff’s actual conduct

and the discipline imposed against him by Defendants.




                                         13
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18          PageID.14    Page 14 of 19



      75.    Defendants, by their agents, representatives, and employees acting

under color of state law and in concert with one another, by their conduct, showed

intentional, outrageous, and reckless disregard for Plaintiff’s constitutional rights.

      76.    The acts of Defendants and their agents, representatives, and

employees represent official policy of the City of Melvindale and are attributable

to the City of Melvindale.

      77.    At all times material hereto, Plaintiff had a clearly established right to

free speech which a reasonable public official would have known.

      78.    As a direct and proximate result of Defendants’ unlawful actions,

Plaintiff has suffered irreparable harm, injury, and damages, including but not

limited to loss of employment and retirement benefits; denial of employment

opportunities; negative publicity surrounding his removal restricting, if not

destroying, future employment opportunities; false, permanent findings on

Plaintiff’s record for misconduct which did not occur; damage to Plaintiff’s

standing and associations in his community and imposition of a stigma or other

disability that forecloses his freedom to take advantage of other employment

opportunities; loss of career opportunities and earning capacity; mental and

emotional distress; humiliation and embarrassment; and loss of personal and

professional reputation.




                                          14
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18          PageID.15   Page 15 of 19



                                  COUNT II
         42 USC § 1985(2) – Conspiracy to Interfere with the Administration of
                              Justice in Federal Courts

      79.    Plaintiff repeats and realleges all paragraphs set forth above with the

same force and effect as though set forth in full herein.

      80.    42 USC § 1985(2), in pertinent part, prohibits any two or more

persons in any State or Territory from conspiring to, “deter by force, intimidation,

or threat, any party or witness in any court of the United States from attending such

court, or from testifying to any matter pending therein, freely, fully, and truthfully,

or to injure such party or witness in his person or property on account of his having

so attended or testified…”

      81.    42 USC § 1985(3) provides a civil cause of action for an individual

injured by any act in furtherance of the object of such a conspiracy.

      82.    Plaintiff was deposed in Hayse’s federal lawsuit against Defendant

City on March 28, 2018. He will be called as a witness at trial.

      83.    Defendants conspired to deter Plaintiff from testifying freely, fully,

and truthfully as a witness at trial in Hayse’s federal lawsuit.

      84.    Defendants acted in concert to retaliate against Plaintiff by injuring

him in his property interest because during his deposition he testified to

information inculpating defendants in the Hayse matter.




                                          15
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18         PageID.16   Page 16 of 19



      85.    Prior to the April 10, 2018 public meeting of Defendant Public Safety

Commission, Defendant Coogan provided Defendants copies of Plaintiff’s

deposition testimony, and, upon information and belief, advised them to take

disciplinary action against Plaintiff because of his testimony.

      86.    Furthermore, on April 9, 2018, Defendant Coogan intentionally

telephoned Plaintiff’s Union Field Representative to advise Plaintiff that retaliatory

disciplinary action was forthcoming, and to deter him, and by implication, other

witnesses, from providing further damaging testimony.

      87.    Defendants thereafter acted in concert when, both before and during

the April 10, 2018 meeting, they determined to write and serve Plaintiff with false

allegations that he perjured himself during his March 28, 2018 deposition in order

to retaliate against Plaintiff and prevent him from revealing further damaging

information about their actions through his future testimony.

      88.    Defendants calculated their concerted efforts to intimidate Plaintiff

into not providing further damaging testimony by publically taking steps to

suspend, demote, and/or terminate Plaintiff, thereby placing permanent negative

designations on his employment record, and destroying his future employment

opportunities, reputation, good standing in the community and access to his full

retirement benefits.




                                         16
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18       PageID.17   Page 17 of 19



      89.   Defendants also calculated their concerted efforts to retaliate against

Plaintiff for testifying against them by publically taking steps to suspend, demote,

and/or terminate Plaintiff, thereby placing permanent negative designations on his

employment record, and destroying his future employment opportunities,

reputation, good standing in the community and access to his full retirement

benefits.

      90.   As a result of Defendants’ intimidating and retaliatory actions,

Plaintiff suffered irreparable harm, injury, and damages, including but not limited

to negative publicity surrounding Defendants’ public statements about his capacity

for truth and honesty, restricting, if not destroying, future employment

opportunities; the specter of false, permanent findings on Plaintiff’s record for

misconduct which did not occur; damage to Plaintiff’s standing and associations in

his community and imposition of a stigma or other disability that forecloses his

freedom to take advantage of other employment opportunities; loss of career

opportunities and earning capacity; mental and emotional distress; humiliation and

embarrassment; and loss of personal and professional reputation.

      91.     The acts of Defendants and their agents, representatives, and

employees represent official policy of the City of Melvindale and are attributable

to the City of Melvindale.




                                        17
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18      PageID.18   Page 18 of 19



                            RELIEF REQUESTED

      For all the foregoing reasons, Plaintiff demands judgment against

Defendants as follows:

      A.    LEGAL RELIEF

            1.    Compensatory, economic, and noneconomic damages in
                  whatever amount Plaintiff is found to be entitled;

            2.    A judgment for lost wages and benefits, past and future, in
                  whatever amount Plaintiff is found to be entitled;

            3.    Exemplary damages in whatever amount Plaintiff is found to be
                  entitled;

            4.    Punitive damages in whatever amount Plaintiff is found to be
                  entitled; and

            5.    An award of interest, costs and reasonable attorney fees.

      B.    DECLARATORY & EQUITABLE RELIEF

            1.    An order from this Court requiring the City of Melvindale to
                  remove discipline related to the claims in this case from
                  Plaintiff’s record and provide Plaintiff his full retirement
                  benefits upon his retirement date;

            2.    An injunction from this Court prohibiting any further acts of
                  discrimination, intimidation, or retaliation;

            3.    An award of interest, costs, and reasonable attorney fees; and

            4.    Whatever other declaratory and/or equitable relief appears
                  appropriate at the time of final judgment.




                                       18
Case 2:18-cv-11450-LJM-MKM ECF No. 1 filed 05/08/18     PageID.19   Page 19 of 19



                                        DEBORAH GORDON LAW
                                        /s/ Deborah L. Gordon (P27058)
                                        Elizabeth Marzotto Taylor (P82061)
                                        Attorneys for Plaintiff
                                        33 Bloomfield Hills Parkway, Suite 220
                                        Bloomfield Hills, Michigan 48304
Dated: May 8, 2018                      (248) 258-2500
                                        dgordon@deborahgordonlaw.com
                                        emarzottotaylor@deborahgordonlaw.com




                                JURY DEMAND

       Plaintiff, by his attorneys Deborah Gordon Law, demands a trial by jury of

all the issues in this cause.


                                        DEBORAH GORDON LAW
                                        /s/ Deborah L. Gordon (P27058)
                                        Elizabeth Marzotto Taylor (P82061)
                                        Attorneys for Plaintiff
                                        33 Bloomfield Hills Parkway, Suite 220
                                        Bloomfield Hills, Michigan 48304
Dated: May 8, 2018                      (248) 258-2500
                                        dgordon@deborahgordonlaw.com
                                        emarzottotaylor@deborahgordonlaw.com




                                       19
